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                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE RICHARD K. EATON, SENIOR JUDGE

ZHEJIANG JUNYUE STANDARD                                     )
PART CO., LTD.,                                              )
                    Plaintiff,                               )
                                                             )
               and                                           )
                                                             )
NINGBO ZHONGJIANG HIGH STRENGTH                              )
BOLTS CO., LTD.,                                             )
                    Plaintiff-Intervenor,                    )
                                                             )      Ct. No. 20-00102
       v.                                                    )
                                                             )
UNITED STATES,                                               )
                              Defendant,                     )
                                                             )
               and                                           )
                                                             )
VULCAN THREADED PRODUCTS, INC.                               )
                   Defendant-Intervenor.                     )

                                STIPULATION OF DISMISSAL

        Please Take Notice that Plaintiff, pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the

 United States Court of International Trade, having filed a stipulation of dismissal signed by all

 parties who have appeared in this action, hereby dismisses this action with prejudice because

 the effect of this appeal will become mooted when the Final Results of the first review are

 published in November 2022. Each party will bear its own costs and fees.

Dated: August 5, 2022                        /s/ Gregory S. Menegaz
                                             Gregory S. Menegaz
                                             DEKIEFFER & HORGAN, PLLC
                                             Suite 410
                                             1090 Vermont Ave., N.W. 20005
                                             Tel: (202) 783-6900
                                             Counsel to Plaintiff Junyue
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                                     BRIAN M. BOYNTON
                                     Principal Deputy Assistant Attorney General

                                     PATRICIA M. MCCARTHY
                                     Director

                                     /s/ Tara K. Hogan
                                     TARA K. HOGAN
                                     Assistant Director

Of Counsel:                          /s/ Ashley Akers
Jesus Nieves Saenz                   Ashley Akers
Attorney                             Trial Counsel
U.S. Department of Commerce          U.S. Department of Justice
Office of the Chief Counsel          Commercial Litigation Branch
For Trade Enforcement & Compliance   P.O. Box 480
                                     Ben Franklin Station
                                     Washington, DC 20044
                                     Tel: (202) 307-0369
                                     Counsel to Defendant United States


                                     /s/ Andrew T. Schutz
                                     Andrew T. Schutz
                                     Grunfeld Desiderio Lebowitz Silverman &
                                     Klestadt, LLP
                                     1201 New York Avenue, NW, Suite 650
                                     Washington, DC 20005
                                     Tel: (202) 661-7780
                                     Counsel to Plaintiff-Intervenor Ningbo
                                     Zhongjiang High Strength Bolts Co., Ltd.


                                     /s/ Christopher T. Cloutier
                                     Christopher T. Cloutier
                                     Schagrin Associates
                                     900 Seventh Street, NW, Suite 500
                                     Washington, DC 20001
                                     Tel: (202) 661-7780
                                     Counsel to Defendant-Intervenor Vulcan
                                     Threaded Products, Inc.

Dated: August 5, 2022




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                                       Order of Dismissal


       This action, having been voluntarily stipulated for dismissal with prejudice by all parties

having appeared in the action, are dismissed.



Dated: __________________
        August 8, 2022


                                                         Clerk, U. S. Court of International Trade


                                                        By: ______________________________
                                                             /s/ Casey A. Cheevers
                                                                   Deputy Clerk




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